             Case 1-18-01062-ess               Doc 64-1        Filed 04/03/20          Entered 04/03/20 14:23:25


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